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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

IN RE BANC OF CALIFORNIA
SECURITIES LITIGATION                           Case No. 0:18-mc-00076-WMW-KMM


                                                CASE NO. SACV 17-00118 AG (DFMx)
                                                consolidated with
                                                SACV 17-00138 AG (DFMx)
                                                Pending in the Central District of California


AMENDED NOTICE OF HEARING ON DEFENDANT SUGARMAN’S MOTION
          TO COMPEL COMPLIANCE WITH SUBPOENAS

       PLEASE TAKE NOTICE that on October 22, 2018, at 3:30 p.m., before the

Honorable Katherine M. Menendez, in Courtroom 8E of the United States Courthouse,

300 South Fourth Street, Minneapolis, Minnesota 55415, the undersigned shall move the

Court for an Order, pursuant to Federal Rule of Civil Procedure 37 and Local Rule 37.1,

compelling non-parties Castalian Partners Value Fund LP and James Gibson

(collectively, “Respondents”) to produce documents responsive to the Subpoenas to

Produce Documents served on Respondents by Defendant Steven Sugarman

(“Sugarman”) in In Re Banc of California Sec. Litig., Civil Action No. SACV 17-00118

AG (DFMx) consolidated with SACV 17-00138 AG (DFMx), currently pending in the

United States District Court for the Central District of California.
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Dated: September 14, 2018           Respectfully submitted,

                                    FOX ROTHSCHILD

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